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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JACQUELINE MARIE WALKER,

Plaintiff,                                            Case No. 1:17-cv-02203

        v.
                                                      Honorable Judge Robert M. Dow, Jr.
VERDE ENERGY USA, INC. d/b/a
VERDE ENERGY USA ILLINOIS, LLC,

Defendant.

                                  NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that JACQUELINE MARIE WALKER (“Plaintiff”),

hereby notifies the Court that the Parties have settled all claims between them in this matter

and are in the process of completing the final closing documents and filing the dismissal. The

Parties anticipate this process to take no more than 60 days and request that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement. The Parties

propose to file a stipulated dismissal with prejudice with 60 days of submission of this Notice

of Settlement and pray the Court to stay all proceedings until that time.


Respectfully submitted this 6th day of April, 2017.

                                                             Respectfully submitted,

                                                             s/ Nathan C. Volheim
                                                             Nathan C. Volheim
                                                             Sulaiman Law Group, Ltd.
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                                                             Oak Brook, IL 60523
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                                                             Attorney for Plaintiff



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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Nathan C. Volheim_____
                                                              Nathan C. Volheim




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